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                           UNITED STATES DISTRICT COURT FOR

                                 THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                              8:08CR89
                                    )
            v.                      )
                                    )
REMIGIO PINTO, JR.,                 )                          FINAL ORDER OF
LUIS ZALAS-VEGO,                    )                            FORFEITURE
HUGO RAMIREZ,                       )
                                    )
                  Defendants.       )
____________________________________)


               This matter is before the Court upon the United States’ Motion for Final Order of

Forfeiture (Filing No. 98). The Court has reviewed the record in this case and finds as follows:

               1. On July 22, 2008, the Court entered a Preliminary Order of Forfeiture pursuant

to the provisions of Title 21, United States Code, Sections 841(a)(1), 841(b)(1) and 853, based

upon the defendants’ pleas of guilty to Counts V, VI, VII and X of the Indictment filed herein.

By way of said Preliminary Order of Forfeiture, the defendants’ interests in $106.00, $614.00,

$112.00, $1,800.00 and $81.00 in United States currency was forfeited to the United States.

               2. On August 14, 21 and 28, 2008, the United States published in a newspaper of

general circulation notice of this forfeiture and of the intent of the United States to dispose of the

properties in accordance with the law, and further notifying all third parties of their right to

petition the Court within the stated period of time for a hearing to adjudicate the validity of their

alleged legal interest(s) in said properties. An Affidavit of Publication was filed herein on

September 26, 2008 (Filing No. 97).
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               3. The Court has been advised by the United States no Petitions have been filed.

From a review of the Court file, the Court finds no Petitions have been filed.

               4. Plaintiff’s Motion for Final Order of Forfeiture should be sustained.

Accordingly,

               IT IS ORDERED:

               A. Plaintiff’s Motion for Final Order of Forfeiture is hereby sustained.

               B. All right, title and interest in and to the $106.00, $614.00, $112.00, $1,800.00

and $81.00 in United States currency, held by any person or entity, are hereby forever barred and

foreclosed.

               C. The $106.00, $614.00, $112.00, $1,800.00 and $81.00 in United States

currency , be, and the same hereby are, forfeited to the United States of America .

               D. The United States Marshal for the District of Nebraska is directed to dispose

of said properties in accordance with law.

               DATED this 3rd day of October, 2008.

                                             BY THE COURT:

                                             /s/ Lyle E. Strom
                                             ______________________________
                                             LYLE E. STROM, Senior Judge
                                             United States District Court
